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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA


Donney Shawyn Council, # 5049,                               ) C/A No. 3:06-618-HMH-JRM
aka Donney Shawyn Whyte Council,                             )
                                                             )
                                   Plaintiff,                ) Report and Recommendation
                                                             )
vs.                                                          )
                                                             )
Robert Stewart;                                              )
Gov. Mark Sanford;                                           )
SLED Agency;                                                 )
                                                             )
                           Defendants.                       )
_________________________________________


       The plaintiff Donney Shawyn Council is a state prisoner proceeding pro se. He

seeks relief pursuant to 42 U.S.C. § 1983.           Under the provisions of      28 U.S.C.

§636(b)(1)(B), and Local Rule 73.02(B)(2)(d), D.S.C., this magistrate judge is authorized

to review all pretrial matters in prisoner cases filed under § 1983 and submit findings and

recommendations to the District Court.

                                     PRO SE COMPLAINT

       As noted above, the plaintiff is a pro se litigant. This Court is required to liberally

construe pro se documents, Estelle v. Gamble, 429 U.S. 97 (1976), holding them to a less

stringent standard than those drafted by attorneys. Hughes v. Rowe, 449 U.S. 9 (1980)

(per curiam). Even under this less stringent standard, however, a pro se complaint is

subject to summary dismissal. The mandated liberal construction afforded to pro se

pleadings means that if the court can reasonably read the pleadings to state a valid claim

on which the plaintiff could prevail, it should do so, but a district court may not rewrite a

petition to include claims that were never presented, Barnett v. Hargett, 174 F.3d 1128,
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1133 (10th Cir. 1999), or construct the plaintiff's legal arguments for him, Small v. Endicott,

998 F.2d 411, 417-18 (7th Cir. 1993), or “conjure up questions never squarely presented”

to the court, Beaudett v. City of Hampton, 775 F.2d 174, 1278 (4th Cir. 1985), cert. denied,

475 U.S. 1088 (1986).

                                 SECTION 1915 SCREENING

       The complaint sub judice has been filed pursuant to 28 U.S.C. § 1915, which permits

an indigent litigant to commence an action in federal court without paying the administrative

costs of proceeding with the lawsuit. To protect against possible abuses of this privilege,

the statute allows a district court to dismiss the case upon a finding that the action “fails to

state a claim on which relief may be granted” or is “frivolous or malicious.”                 §

1915(e)(2)(B)(i), (ii).

       1) Frivoulous

       A finding of frivolity can be made where the complaint “lacks an arguable basis either

in law or in fact.” Denton v. Hernandez, 504 U.S. 25, 31 (1992). Hence, under §

1915(e)(2)(B), a claim based on a meritless legal theory may be dismissed sua sponte.

Neitzke v. Williams, 490 U.S. 319 (1989); Allison v. Kyle, 66 F.3d 71 (5th Cir. 1995). The

court may dismiss a claim as “factually frivolous” under § 1915(e) if the facts alleged are

clearly baseless. Denton, 504 U.S. at 31. In making this determination, the court is not

bound to accept without question the truth of the plaintiff's allegations, but rather need only

weigh the plaintiff's factual allegations in his favor. Id. The Supreme Court has held that

               a court may dismiss a claim as factually frivolous . . . if the
               facts alleged are “clearly baseless,” a category encompassing
               allegations that are “fanciful,” “fantastic,” and “delusional.” As
               those words suggest, a finding of factual frivolousness is


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              appropriate when the facts alleged rise to the level of the
              irrational or the wholly incredible, whether or not there are
              judicially noticeable facts available to contradict them.

Denton, 504 U.S. at 32 (citations omitted). See also Adams v. Rice, 40 F.3d 72, 74 (4th Cir.

1994) (“‘[F]antastic’ or ‘delusional’ claims are clearly baseless and thus insufficient to

withstand a charge of factual frivolity.”), cert denied, 514 U.S. 1022 (1995).

       The plaintiff has named Robert Stewart, Governor Mark Sanford, and SLED as

defendants.    However, even construing the Plaintiff’s complaint liberally, the factual

allegations are clearly baseless.      The complaint is rambling, incomprehensible, and

manifestly delusional. The entire complaint appears to be written in some form of code

using numbers and repetitive words. Furthermore, numerous words are stricken out

making it impossible to read. As the plaintiff’s complaint is incomprehensible, this case

should be dismissed without prejudice as frivoulous.

       2) Failure to State a Claim

       Under Fed. R. Civ. P. 8(a)(2), a plaintiff is required to provide a “short and plain

statement of the claim showing that the pleader is entitled to relief.” A plaintiff must at least

present the court with complete declarative sentences in order for the court to ascertain his

right to relief, if any. Brown v. Zavaras, 63 F.3d 967 (10th Cir. 1995). See also Adams v.

Rice, 40 F.3d 72 (4th Cir. 1994)(affirming the district court’s dismissal of plaintiff’s suit as

frivolous where allegation was conclusory and nonsensical on its face).

       Even liberally construing the plaintiff’s complaint, it provides no factual allegations

to support any claim and thus provides no notice to the defendants of the causes(s) to

which they must respond and no notice to this Court of the claims upon which relief might



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be granted. Therefore, it is recommended that this case be dismissed without prejudice

for failure to state a claim.

                                    Recommendation

       Accordingly, it is recommended that the complaint in the above captioned case be

dismissed without prejudice and without requiring the defendants to file a return. See

United Mine Workers v. Gibbs, 383 U.S. 715 (1966); see also Neitzke v. Williams, 490 U.S.

319, 324-25 (1989); Haines v. Kerner, 404 U.S. 519 (1972). The plaintiff's attention is

directed to the important notice on the next page.

                                          Respectfully Submitted,

                                          s/Joseph R. McCrorey
                                          United States Magistrate Judge
April 26, 2006

Columbia, South Carolina




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Notice of Right to File Objections to Magistrate Judge's "Report and Recommendation"
                                             &
                      The Serious Consequences of a Failure to Do So

         The plaintiff is hereby notified that any objections to the attached Report and Recommendation (or
Order and Recommendation) must be filed within ten (10) days of the date of its filing. 28 U.S.C. § 636
and Fed. R. Civ. P. 72(b). The time calculation of this ten-day period excludes weekends and holidays
and provides for an additional three days for filing by mail. Fed. R. Civ. P. 6. Based thereon, this Report
and Recommendation, any objections thereto, and the case file will be delivered to a United States
District Judge fourteen (14) days after this Report and Recommendation is filed. Advance Coating
Technology, Inc. v. LEP Chemical, Ltd., 142 F.R.D. 91, 94 & n. 3, 1992 U.S.Dist. LEXIS® 6243 (S.D.N.Y.
1992). A magistrate judge makes only a recommendation, and the authority to make a final determination
in this case rests with the United States District Judge. See Mathews v. Weber, 423 U.S. 261, 270-271
(1976); and Estrada v. Witkowski, 816 F. Supp. 408, 410, 1993 U.S.Dist. LEXIS® 3411 (D.S.C. 1993).

          During the ten-day period, but not thereafter, a party must file with the Clerk of Court specific,
written objections to the Report and Recommendation, if he or she wishes the United States District Judge
to consider any objections. Any written objections must specifically identify the portions of the
Report and Recommendation to which objections are made and the basis for such objections.
Failure to file written objections shall constitute a waiver of a party's right to further judicial review,
including appellate review, if the recommendation is accepted by the United States District Judge. See
United States v. Schronce, 727 F.2d 91, 94 & n. 4 (4th Cir.), cert. denied, Schronce v. United States, 467
U.S. 1208 (1984); and Wright v. Collins, 766 F.2d 841, 845-847 & nn. 1-3 (4th Cir. 1985). Moreover, if a
party files specific objections to a portion of a magistrate judge's Report and Recommendation, but does
not file specific objections to other portions of the Report and Recommendation, that party waives
appellate review of the portions of the magistrate judge's Report and Recommendation to which he or she
did not object. In other words, a party's failure to object to one issue in a magistrate judge's Report and
Recommendation precludes that party from subsequently raising that issue on appeal, even if objections
are filed on other issues. Howard v. Secretary of HHS, 932 F.2d 505, 508-509, 1991 U.S.App. LEXIS®
8487 (6th Cir. 1991). See also Praylow v. Martin, 761 F.2d 179, 180 n. 1 (4th Cir.)(party precluded from
raising on appeal factual issue to which it did not object in the district court), cert. denied, 474 U.S. 1009
(1985). In Howard, supra, the Court stated that general, non-specific objections are not sufficient:

                 A general objection to the entirety of the [magistrate judge's] report has the same
                 effects as would a failure to object. The district court's attention is not focused on
                 any specific issues for review, thereby making the initial reference to the [magistrate
                 judge] useless. * * * This duplication of time and effort wastes judicial resources
                 rather than saving them, and runs contrary to the purposes of the Magistrates Act. *
                 * * We would hardly countenance an appellant's brief simply objecting to the district
                 court's determination without explaining the source of the error.

Accord Lockert v. Faulkner, 843 F.2d 1015, 1017-1019 (7th Cir. 1988), where the Court held that the
appellant, who proceeded pro se in the district court, was barred from raising issues on appeal that he did
not specifically raise in his objections to the district court:

                 Just as a complaint stating only 'I complain' states no claim, an objection stating
                 only 'I object' preserves no issue for review. * * * A district judge should not have to
                 guess what arguments an objecting party depends on when reviewing a [magistrate
                 judge's] report.

See also Branch v. Martin, 886 F.2d 1043, 1046, 1989 U.S.App. LEXIS® 15,084 (8th Cir. 1989)("no de
novo review if objections are untimely or general"), which involved a pro se litigant; and Goney v. Clark,
749 F.2d 5, 7 n. 1 (3rd Cir. 1984)("plaintiff's objections lacked the specificity to trigger de novo review").
This notice, hereby, apprises the plaintiff of the consequences of a failure to file specific, written
objections. See Wright v. Collins, supra; and Small v. Secretary of HHS, 892 F.2d 15, 16, 1989 U.S.App.
LEXIS® 19,302 (2nd Cir. 1989). Filing by mail pursuant to Fed. R. Civ. P. 5 may be accomplished by
mailing objections addressed as follows:
                                             Larry W. Propes, Clerk
                                           United States District Court
                                               901 Richland Street
                                         Columbia, South Carolina 29201


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